Case 3:16-md-02738-MAS-RLS                Document 9798      Filed 05/17/19      Page 1 of 2 PageID:
                                               51040




                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY

  IN RE: JOHNSON & JOHNSON TALCUM
  POWDER PRODUCTS MARKETING,                              MDL NO. 16-2738 (FLW) (LHG)
                                                          JUDGE FREDA WOLFSON
  SALES PRACTICES, AND PRODUCTS                           MAG. JUDGE LOIS GOODMAN
  LIABILITY LITIGATION
                                                          Civil Action No. 3:19-cv-12182
  This document relates to:
                                                          DIRECT FILED ACTION
  Alan Smith, on behalf of Donna Smith,
  deceased.




                                          NOTICE OF FILING

 Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

 Complaints) that the Short Form Complaint and Jury Demand was filed on May 6, 2019, Alan

 Smith, on behalf of Donna Smith, deceased.
                                                       Respectfully submitted,

                                                       /s/ Bradley D. Honnold
                                                       Bradley D. Honnold, KS #22972
                                                       Goza & Honnold, LLC
                                                       9500 Nall Ave., Suite 400
                                                       Overland Park, KS 66207-2950
                                                       913-451-3433 Telephone
                                                       913-839-0567 – Fax
                                                       ATTORNEY FOR PLAINTIFF




 Dated: May 17, 2019
Case 3:16-md-02738-MAS-RLS                 Document 9798           Filed 05/17/19        Page 2 of 2 PageID:
                                                51041




                                       CERTIFICATE OF SERVICE
 I hereby certify that on May 17, 2019, a copy of the foregoing Notice of Filing was filed via Court’s
 CM/ECF electronic filing system. Notice of this filing will be sent by operation of the Court’s
 electronic filing system to all parties indicated on the electronic filing receipt. Parties may access this
 filing through the Court’s System.


                                                                      /s/ Bradley D. Honnold
                                                                      Counsel for Plaintiff




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